
Eastcoast Metropolitan Medical, P.C., as Assignee of Jesse Ferraro, Appellant,
againstELRAC, Inc., Respondent.




Kopelevich &amp; Feldsherova, P.C. (Galina Feldsherova, Esq.), for appellant.
Brand, Glick &amp; Brand, P.C., for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Kings County (Pamela L. Fisher, J.), entered November 21, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is denied.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that plaintiff's assignor had failed to appear for duly scheduled examinations under oath (EUOs).
Plaintiff correctly argues that defendant failed to establish, as a matter of law, that it had sent the EUO scheduling letters to the assignor's correct address (see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]). In light of this finding, we need not reach plaintiff's remaining contentions.
Accordingly, the order is reversed and defendant's motion for summary judgment dismissing the complaint is denied.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










